
PER CURIAM
Petitioner sat for and passed the July 2018 Louisiana Bar Examination. Thereafter, the Committee on Bar Admissions ("Committee") advised petitioner that it could not certify her for admission to the bar on character and fitness grounds. Petitioner then applied to this court, seeking admission to the bar or, alternatively, the appointment of a commissioner. After consideration, we remanded this matter to the Committee on Bar Admissions Panel on Character and Fitness to conduct an investigation and appointed a commissioner to take character and fitness evidence. Following a hearing, the commissioner filed his report with this court, recommending that petitioner be admitted to the practice of law. Neither party objected to this recommendation.
Considering the commissioner's recommendation and the entire record of this proceeding, we conclude petitioner is eligible to be admitted to the practice of law in Louisiana.
ADMISSION GRANTED.
Clark, J., would deny.
